Case 2:24-cv-07922-DDP-AJR     Document 1    Filed 09/17/24   Page 1 of 25 Page ID
                                      #:1


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16
                         UNITED STATES DISTRICT COURT
17
                        CENTRAL DISTRICT OF CALIFORNIA
18
19
20 JODY VILLANUEVA, on behalf of            Case No:
   J.C.; ANGELA FAUCETT, on behalf
21 of K.F.; and LAMARTINE PIERRE,           CLASS ACTION COMPLAINT
   JR., on behalf of C.P.,
22
                Plaintiffs,                 DEMAND FOR JURY TRIAL
23
          vs.
24
   BYTEDANCE INC.; BYTEDANCE
25 LTD.; TIKTOK LTD.; TIKTOK INC.;
   TIKTOK PTE. LTD.; and TIKTOK
26 U.S. DATA SECURITY INC.,
   Defendants.
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                              CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR       Document 1     Filed 09/17/24   Page 2 of 25 Page ID
                                        #:2


 1         Plaintiffs Jody Villanueva, on behalf of, J.C., Angela Faucett, on behalf of K.F.,
 2 and Lamartine Pierre, Jr., on behalf of C.P., individually, and on behalf of all others
 3 similarly situated, hereby file suit against the Defendants listed above and alleges the
 4 following:
 5                                    INTRODUCTION
 6         1.    TikTok is one of the world’s largest social media platforms, widely
 7 known for its popularity with children and young adults.
 8         2.    TikTok is not just popular with teenagers: TikTok has millions of users
 9 who are under the age of 13.
10         3.    TikTok collects and uses these young children’s personal information
11 without providing direct notice to their parents or gaining their parents’ verifiable
12 consent. TikTok’s conduct violates the Children’s Online Privacy Protection Act of
13 1998 (“COPPA”) and the COPPA Rule.
14         4.    In 2019, the Department of Justice filed a lawsuit against TikTok for
15 violating COPPA and the COPPA Rule. In March 2019, this Court entered a
16 Permanent Injunction prohibiting TikTok from collecting and using personal
17 information from children under the age of 13 without notifying their parents or
18 gaining their parents’ verifiable consent.
19         5.    The Permanent Injunction did not stop TikTok. TikTok continues to
20 violate COPPA. Thus, last month, the Department of Justice filed a new lawsuit
21 against TikTok for violating COPPA and illegally collecting and using young
22 children’s personal information.
23         6.     Plaintiffs seek to represent millions of American children whose
24 personal information has been unlawfully collected and used by TikTok.
25         7.    Plaintiffs seek to hold TikTok accountable for their repeatedly violating
26 the rights of American children and to ensure that TikTok’s misconduct is finally
27 stopped.
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                                                2
                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR       Document 1     Filed 09/17/24   Page 3 of 25 Page ID
                                        #:3


 1                                         PARTIES
 2         8.    Plaintiff Jody Villanueva, on behalf of her child, J.C., a minor. Plaintiff
 3 Jody Villanueva and J.C. are residents and citizens of the State of California and
 4 natural persons. During the Class Period, J.C. created and used TikTok accounts
 5 (while under the age of 13) and viewed content on the TikTok platform.
 6         9.    Plaintiff Angela Faucett, on behalf of her child, K.F., a minor. Plaintiff
 7 Angela Faucett and K.F. are residents and citizens of the State of Washington and
 8 natural persons. During the Class Period, K.F. created and used a TikTok account
 9 (while under the age of 13) and viewed content on the TikTok platform.
10         10.   Plaintiff Lamartine Pierre, Jr., on behalf of his child, C.P., a minor.
11 Plaintiff Lamartine Pierre, Jr. and C.P. are residents and citizens of the State of New
12 York and natural persons. During the Class Period, C.P. created and used a TikTok
13 account (while under the age of 13) and viewed content on the TikTok platform.
14         11.   Defendant TikTok Inc. is a California corporation with its principal place
15 of business at 5800 Bristol Parkway, Suite 100, Culver City, California 90230.
16 TikTok Inc. transacts or has transacted business in this District and throughout the
17 United States.
18         12.   Defendant TikTok U.S. Data Security Inc. is a Delaware corporation with
19 its principal place of business shared with TikTok Inc. TikTok U.S. Data Security Inc.
20 transacts or has transacted business in this District and throughout the United States.
21         13.   Defendant ByteDance Ltd. is a Cayman Islands company. It has had
22 offices in the United States and in other countries. ByteDance Ltd. transacts or has
23 transacted business in this District and throughout the United States.
24         14.   Defendant ByteDance Inc. is a Delaware corporation with its principal
25 place of business at 250 Bryant Street, Mountain View, California, 94041. ByteDance
26 Inc. transacts or has transacted business in this District and throughout the United
27 States.
28         15.   Defendant TikTok Pte. Ltd. is a Singapore company with its principal
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR        Document 1     Filed 09/17/24   Page 4 of 25 Page ID
                                         #:4


 1 place of business at 8 Marina View Level 43 Asia Square Tower 1, Singapore,
 2 018960. TikTok Pte. Ltd. transacts or has transacted business in this District and
 3 throughout the United States.
 4         16.    Defendant TikTok Ltd. is a Cayman Islands company with its principal
 5 place of business in Singapore or Beijing, China. TikTok Ltd. transacts or has
 6 transacted business in this District and throughout the United States.
 7         17.    Collectively, Plaintiffs refer to Defendants TikTok Inc., TikTok U.S.
 8 Data Security Inc., ByteDance Ltd., ByteDance Inc., TikTok Pte. Ltd., and TikTok
 9 Ltd. as “Defendants’ or “TikTok”.
10                                      JURISDICTION
11         18.    This Court has subject matter jurisdiction over this action under 28
12 U.S.C. § 1332(d)(2) because this is a class action wherein the amount in controversy
13 exceeds the sum or value of $5,000,000, exclusive of interest and costs, there are more
14 than 100 members in the proposed classes, and at least one member of the classes of
15 Plaintiffs is a citizen of a state different from the Defendant.
16         19.    This Court has personal jurisdiction over Defendant TikTok Inc.,
17 Defendant TikTok U.S. Data Security Inc., and Defendant ByteDance Inc. because
18 they are headquartered in California, and conduct business in the state of California.
19         20.    The Court has personal jurisdiction over all of the Defendants because of
20 Defendants’ continuous and systematic business contacts with the State of California.
21         21.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a
22 substantial part of the events or omissions giving rise to these claims occurred in, were
23 directed to, and/or emanated from this district.
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                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR        Document 1    Filed 09/17/24   Page 5 of 25 Page ID
                                         #:5


 1                               FACTUAL ALLEGATIONS
 2         A. The Children’s Online Privacy Protection Act and the COPPA Rule
 3               Require That TikTok Provide Parental Notice and Gain Parental
 4               Consent Before Collecting or Using Children’s Personal Information
 5         22.     In 1998, the Federal Trade Commission (“FTC”) sent a report to
 6 Congress regarding online privacy. The FTC found that online data collection
 7 practices for children posed “unique privacy and safety concerns because of the
 8 particular vulnerability of children, the immediacy and ease with which information
 9 can be collected from them, and the ability of the online medium to circumvent the
10 traditional gatekeeping role of the parents.” 1
11         23.     The FTC report recommended that, “Congress develop legislation
12 placing parents in control of the online collection and use of personal information
13 from their children. Such legislation would require websites that collect personal
14 identifying information from children to provide actual notice to parents and obtain
15 parental consent.” 2
16         24.     Later that year, Congress enacted the Children’s Online Privacy
17 Protection Act of 1998 (“COPPA”).
18         25.     COPPA directed the FTC to promulgate a rule implementing COPPA.
19 The FTC promulgated the COPPA Rule on November 3, 1999.
20         26.     The COPPA Rule sets requirements for any “operator of a Web site or
21 online service directed to children, or any operator that has actual knowledge that it is
22 collecting or maintaining personal information from a child [under the age of 13].”
23 Section 312.3 of COPPA Rule, 16 C.F.R. §§ 312.3.
24         27.     The COPPA Rule requirements apply to TikTok. TikTok is directed to
25 children, and Tiktok has actual knowledge that it is collecting Personal Information
26
      1
        MARTHA K. LANDESBERG ET AL., FEDERAL TRADE COMMISSION,
27 PRIVACY      ONLINE: A REPORT TO CONGRESS iii (1998) at 4-5.
28    2
        Id. at iii.
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                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR         Document 1   Filed 09/17/24   Page 6 of 25 Page ID
                                          #:6


 1 from Children.
 2         28.   The COPPA Rule has two requirements that are particularly pertinent to
 3 this case: (1) parental notice and (2) parental consent.
 4         29.   First, pursuant to the COPPA Rule, TikTok must provide direct notice to
 5 parents, notifying them of “what information it collects form children, how it uses
 6 such information and its disclosure practices for such information.” 16 C.F.R.
 7 §§ 312.3(a); 312.4.
 8         30.   Second, pursuant to the COPPA Rule, TikTok must “[o]btain verifiable
 9 parental consent prior to any collection, use, and/or disclosure of personal information
10 from children.” 16 C.F.R. §§ 312.3(b); 312.5.
11         31.   The COPPA Rule defines “Personal Information,” as “[I]ndividually
12 identifiable information about an individual collected online, including:
13               (1) A first and last name;
14               (2) A home or other physical address including street name and name of
15               a city or town;
16               (3) Online contact information as defined in this section;
17               (4) A screen or user name where it functions in the same manner as
18               online contact information, as defined in this section;
19               (5) A telephone number;
20               (6) A Social Security number;
21               (7) A persistent identifier that can be used to recognize a user over time
22               and across different Web sites or online services. Such persistent
23               identifier includes, but is not limited to, a customer number held in a
24               cookie, an Internet Protocol (IP) address, a processor or device serial
25               number, or unique device identifier;
26               (8) A photograph, video, or audio file where such file contains a child's
27               image or voice;
28               (9) Geolocation information sufficient to identify street name and name
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR         Document 1       Filed 09/17/24   Page 7 of 25 Page ID
                                          #:7


 1                 of a city or town; or
 2                 (10) Information concerning the child or the parents of that child that the
 3                 operator collects online from the child and combines with an identifier
 4                 described in this definition.”
 5 Section 312.2 of COPPA Rule, 16 C.F.R. § 312.2.
 6           32.   Plaintiffs use the same definition of “Personal Information” from Section
 7 312.2 of the COPPA Rule for this Complaint.
 8           33.   The COPPA Rule defines “Child” as “an individual under the age of 13.”
 9 Section 312.2 of COPPA Rule, 16 C.F.R. § 312.2.
10           B. TikTok Has Repeatedly and Persistently Violated COPPA
11           34.   TikTok’s predecessor Musical.ly launched in 2014. Musical.ly was a
12 social media platform where users could create and share short lip-sync videos.
13           35.   By 2016, New York Times tech reporter John Herrman wrote an article
14 about the prevalence of children under the age of 13 on Musical.ly, explaining that
15 “[w]hat is striking about the app, though, is how many of its users appear to be even
16 younger than” than 13. 3 Mr. Herrman wrote:
17
                   The app does not collect or show the age of its users, but
18                 some of its top-ranked users, whose posts routinely collect
19                 millions of likes, called hearts, appear from their videos and
                   profile photos to be in grade-school. Until recently, the app
20                 had a feature that suggested users to follow based on their
21                 location. In New York, that feature revealed a list composed
                   largely not just of teenagers, but of children. 4
22
             36.   The CEO of a social media advertising agency told the New York Times
23
     that with Muscial.ly users, “you’re talking about first, second, third grade.”5
24
25
         Josh Herrman, Who’s Too Young for an App? Musical.ly Tests the Limits, New
         3
26 York Times, Sept. 16, 2016, https://www.nytimes.com/2016/09/17/business/media/a-
   social-network-frequented-by-children-tests-the-limits-of-online-regulation.html.
27     4
         Id. (emphasis added).
28     5
         Id.
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                                 CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR       Document 1     Filed 09/17/24   Page 8 of 25 Page ID
                                        #:8


 1         37.   As Musical.ly was gaining popularity among elementary school kids in
 2 the United States, Beijing-based ByteDance Ltd. crated TikTok in 2017.
 3         38.   On November 9, 2017, ByteDance Ltd. purchased Musical.ly for almost
 4 $1 billion. On August 2, 2018, TikTok merged with Muiscal.ly, consolidating the
 5 accounts and data into one application.
 6         39.   In February 2019, the United States Department of Justice filed a
 7 complaint against TikTok’s predecessors, Musical.ly and Musical.ly, Inc., alleging
 8 violations of the COPPA Rule and Section 5 of the FTC Act, 15 U.S.C. § 45.
 9         40.   The Department of Justice alleged that TikTok’s Musical.ly predecessors
10 had collected and used personal information from children younger than 13 in
11 violation of COPPA, including by (1) failing to directly notify parents of the
12 information it collects online from children under 13 and how it uses such information
13 and (2) failing to obtain verifiable parental consent before any collection or use of
14 personal information from children under 13. United States v. Musical.ly, et al., No.
15 2:19-cv-01439-ODW-RAO (C.D. Cal. Feb. 27, 2019) (Dkt. No. 1).
16         41.   In March 2019, the Honorable Otis D. Wright II entered a Stipulated
17 Order for Civil Penalties, Permanent Injunction, and Other Relief against TikTok’s
18 predecessors. United States v. Musical.ly, et al., No. 2:19-cv-01439-ODW-RAO (C.D.
19 Cal. Mar. 27, 2019) (Dkt. No. 10) (2019 Permanent Injunction).
20         42.   As part of the 2019 Permanent Injunction, TikTok’s predecessors were
21 enjoined from violating the COPPA Rule, including by (1) “failing to make
22 reasonable efforts, taking into account available technology, to ensure that a parent of
23 a child receives direct notice of Defendants’ practices with regard to the collection,
24 use, or disclosure of personal information from children” and (2) “failing to obtain
25 verifiable parental consent before any collection, use, or disclosure of personal
26 information from children.” 2019 Permanent Injunction at 8.
27         43.   In 2019, Muiscal.ly was renamed TikTok Ltd., and Musical.ly Inc. was
28 renamed TikTok Inc. This renaming did not change the companies’ obligations under
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                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR          Document 1     Filed 09/17/24   Page 9 of 25 Page ID
                                           #:9


 1 the 2019 Permanent Injunction.
 2          C. Despite the Permanent Injunction, TikTok Collects and Uses Children’s
 3                Personal Information Without Parental Notification or Consent
 4          44.     Despite the 2019 Permanent Injunction, millions of American children
 5 under the age of 13 continue to join TikTok. And, TikTok continues to collect and use
 6 their Personal Information.
 7          45.     When users create a TikTok account, TikTok uses an “age gate” and
 8 requires that the user provide their birthday – the day, month, and year.
 9          46.     Since at least March 2019, if a Child enters a birthday that indicates that
10 they are 13 years old or over, then they are provided with a regular TikTok account.
11          47.     Since at least March 2019, if a Child enters a birthday that indicates that
12 they are younger than 13 years old, then they are provided with a “TikTok For
13 Younger Users” or “Kids Mode” account. TikTok does not notify parents or obtain
14 parental consent for Kids Mode accounts.
15          48.     Children with Kids Mode accounts can view videos but cannot post
16 videos.
17          49.     TikTok’s “age gate” is insufficient. Other than asking for their birthday,
18 TikTok makes no other attempt during the sign-in process to verify the user’s age.
19          50.     TikTok and its employees have long known that children misrepresent
20 their ages to pass through TikTok’s age gate, and that despite other measures
21 purportedly designed to remove children from the platform, children are ubiquitous.
22          51.     TikTok’s internal company data and documents classified 18 million of
23 its 49 million daily users in the United States as being 14 years or younger. 6
24          52.     A former TikTok employee said that TikTok employees had pointed out
25 videos from children who appeared to be younger than 13 that were allowed to remain
26
27      6
         Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14
   or Under, Raising Safety Questions, New York Times, Aug. 14, 2020,
28 https://www.nytimes.com/2020/08/14/technology/tiktok-underage-users-ftc.html.
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                                  CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR        Document 1 Filed 09/17/24      Page 10 of 25 Page ID
                                         #:10


 1 online for weeks.7
 2           53.   Defendants use human content moderators to review flagged accounts
 3 that potentially belong to children. In January 2020, for example, a TikTok moderator
 4 recognized that Defendants maintain accounts of children despite the “fact that we
 5 know the user is U13,” i.e., under the age of 13, so long as the child’s profile does not
 6 admit that fact explicitly.
 7           54.   Another employee admitted that TikTok moderators were required to
 8 ignore any “external information” indicating that a user under review is a child.
 9           55.   As another example, in a July 2020 chat, one of Defendants’ employees
10 circulated the profiles of numerous underage users he had identified “literally through
11 one minute of scanning,” noting “[t]his is incredibly concerning and needs to be
12 addressed immediately.”
13           56.   TikTok utilizes internal algorithms to predict user’s ages based on their
14 online behavior. However, TikTok refuses to use its age-prediction algorithm to
15 identify children under the age of 13 and stop them from using regular TikTok
16 accounts.
17           57.   Furthermore, until at least May 2022, TikTok allowed consumers to
18 avoid the age gate when creating a TikTok account by allowing consumers to use
19 login credentials from certain third-party online services, including Instagram and
20 Google. Children were permitted to create TikTok accounts without entering their
21 birthday if they used login credentials from Google. However, Google allowed
22 children under the age of 13 to create Google accounts with parental consent to use
23 Google.
24           58.   Regardless of whether a Child uses a regular TikTok account or a Kids
25 Mode account, TikTok violates the COPPA Rule by collecting and using their
26 Personal Information without parental notice and consent.
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            Id.
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                                 CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 11 of 25 Page ID
                                       #:11


 1         59.   TikTok’s insufficient age verification policies resulted in millions of
 2 Children gaining access to regular TikTok accounts and to the adult content and
 3 features of a regular TikTok account.
 4         60.   For Children with regular TikTok accounts, TikTok collects Personal
 5 Information about them, including first and last name, age, email address, phone
 6 number, persistent identifiers for the device(s) used to access TikTok, social media
 7 account information, and profile image(s), as well as photographs, videos, and audio
 8 files containing the user’s image and voice and the metadata associated with such
 9 media (such as when, where, and by whom the content was created), usage
10 information, device information, location data, image and audio information,
11 metadata, and data from cookies and similar technologies that track users across
12 different websites and platforms.
13         61.   For Children with Kids Mode accounts, TikTok still collects Personal
14 Information about them, including several types of persistent identifiers, including IP
15 address and unique device identifiers. TikTok also collects app activity data, device
16 information, mobile carrier information, and app information from Children using
17 Kids Mode accounts—which it combines with persistent identifiers and uses to amass
18 profiles on children.
19         62.   In August 2024, the Department of Justice filed a new complaint alleging
20 that TikTok violated COPPA and the COPPA Rule, including by (1) knowingly
21 creating accounts for children and collecting data from those children without first
22 notifying their parents and obtaining verifiable parental consent; (2) failing to honor
23 parents’ requests to delete their children’s accounts and information; and (3) failing to
24 delete the accounts and information of users it knows are children.
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR       Document 1 Filed 09/17/24      Page 12 of 25 Page ID
                                        #:12


 1        D. TikTok Generates Revenue from Its Unlawful Conduct by Advertising
 2              to Children
 3        63.     TikTok is a short-form video social media platform. TikTok is a short-
 4 form video social media platform.
 5        64.     In January 2024, TikTok reported that it had approximately 170 million
 6 monthly active users in the United States.
 7        65.     TikTok earns a substantial amount of its revenue from advertising.
 8        66.     TikTok reported that it earned $16 billion in revenue in the United States
 9 in 2023.
10        67.     TikTok uses the Personal Information collected from children (under the
11 age of 13) to target them with advertising.
12        68.     TikTok targets users with specific advertisements by collecting persistent
13 identifiers about the users and combining the identifiers with other information about
14 the users.
15        69.     In other words, TikTok targets specific advertisements to children (under
16 the age of 13) by violating COPPA. Thus, a substantial portion of the revenue that
17 TikTok earns from advertisements that are served on children (under the age of 13) is
18 a direct and proximate result of TikTok’s violation of COPPA.
19        70.     TikTok’s algorithm is trained on data collected from users via the TikTok
20 platform and from third-party sources. Such data include videos viewed, “liked,” or
21 shared, accounts followed, comments, content created, video captions, sounds, and
22 hashtags, as well as device and account settings such as language preference, country
23 setting, and device type.
24        71.     TikTok combines this collected data with children’s persistent identifiers.
25 The collected data is thus Personal Information. Section 312.2 of COPPA Rule, 16
26 C.F.R. § 312.2.
27        72.     TikTok also provides targeting options to advertisers that are based on
28 this collected Personal Information.
                                                 12
                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR            Document 1 Filed 09/17/24      Page 13 of 25 Page ID
                                             #:13


 1         73.         For example, for behavioral targeting, TikTok targets users based on their
 2 interactions with organic and paid content, including the types of videos the user
 3 viewed.
 4         74.         For example, for interest targeting, TikTok’s algorithm analyzes users’
 5 long-term platform activities.
 6         E. Plaintiffs’ Allegations
 7               i.       Plaintiff Jody Villanueva, on behalf of her child, J.C., a minor
 8         75.         This action is brought on J.C.’s behalf by Plaintiff Jody Villanueva.
 9         76.         During the Class Period, J.C. created and used TikTok accounts (while
10 under the age of 13) and viewed content on the TikTok platform.
11         77.         J.C. created a TikTok account when she was approximately 8 years old.
12         78.         During the Class Period, Defendants collected J.C.’s Personal
13 Information for the purpose of tracking J.C.’s activity and utilizing targeted
14 advertisements.
15         79.         Defendants never obtained consent from nor notified J.C.’s parent and
16 legal guardian, Jody Villanueva, at any point prior to or during its collection and use
17 of J.C.’s Personal Information.
18         80.         Defendants were bound by the 2019 Permanent Injunction that prohibited
19 Defendants from collecting Personal Information from children under the age of 13,
20 and therefore this conduct could not have reasonably been discovered earlier through
21 investigation.
22               ii.      Plaintiff Angela Faucett, on behalf of her child, K.F., a minor
23         81.         This action is brought on K.F.’s behalf by Plaintiff Angela Faucett.
24         82.         During the Class Period, K.F. created and used a TikTok account (while
25 under the age of 13) and viewed content on the TikTok platform.
26         83.         K.F. created a TikTok account when she was approximately 9 or 10 years
27 old.
28         84.         During the Class Period, Defendants collected K.F.’s Personal
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                                     CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR             Document 1 Filed 09/17/24       Page 14 of 25 Page ID
                                              #:14


 1 Information for the purpose of tracking K.F.’s activity and utilizing targeted
 2 advertisements.
 3         85.          Defendants never obtained consent from nor notified K.F.’s parent and
 4 legal guardian, Angela Faucett, at any point prior to or during its collection and use of
 5 K.F.’s Personal Information.
 6         86.          Defendants were bound by the 2019 Permanent Injunction that prohibited
 7 Defendants from collecting Personal Information from children under the age of 13,
 8 and therefore this conduct could not have reasonably been discovered earlier through
 9 investigation.
10               iii.      Plaintiff Lamartine Pierre, Jr., on behalf of his child, C.P., a minor.
11         87.          This action is brought on C.P.’s behalf by Plaintiff Jody Villanueva.
12         88.          During the Class Period, C.P. created and used a TikTok account (while
13 under the age of 13) and viewed content on the TikTok platform.
14         89.          C.P. created a TikTok account when she was approximately 12 years old.
15         90.          During the Class Period, Defendants collected C.P.’s Personal
16 Information for the purpose of tracking C.P.’s activity and utilizing targeted
17 advertisements.
18         91.          Defendants never obtained consent from nor notified C.P.’s parent and
19 legal guardian, Lamartine Pierre, Jr., at any point prior to or during its collection and
20 use of C.P.’s personal information.
21         92.          Defendants were bound by the 2019 Permanent Injunction that prohibited
22 Defendants from collecting Personal Information from children under the age of 13,
23 and therefore this conduct could not have reasonably been discovered earlier through
24 investigation.
25                                       CLASS ALLEGATIONS
26         93.          Plaintiff re-alleges and incorporates by reference herein all of the
27 allegations contained above.
28         94.          The Class Period is defined as March 28, 2019 to the present.
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                                      CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR     Document 1 Filed 09/17/24        Page 15 of 25 Page ID
                                      #:15


 1        95.   Neither Plaintiffs nor Class Members could have discovered the
 2 misconduct by TikTok that gives rise to their causes of action because (i) TikTok
 3 purported to be abiding by the 2019 Permanent Injunction and (ii) TikTok concealed
 4 its misconduct.
 5        96.   Plaintiffs allege that all applicable statutes of limitation have been tolled
 6 by the discovery rule and by TikTok’s fraudulent concealment.
 7        97.   Pursuant to Federal Rule of Civil Procedure 23(b)(3), Plaintiff asserts
 8 claims on behalf of the following “Classes:”
 9
10        National Class: All United States residents (who were younger than 13 years
11        old when they used TikTok) from whom Defendants collected and/or used
12        Personal Information during the Class Period without notifying their parents
13        and obtaining verifiable parental consent beforehand.
14
15        California Class: All California residents (who were younger than 13 years old
16        when they used TikTok) from whom Defendants collected and/or used Personal
17        Information during the Class Period without notifying their parents and
18        obtaining verifiable parental consent beforehand.
19
20        Washington Class: All Washington residents (who were younger than 13 years
21        old when they used TikTok) from whom Defendants collected and/or used
22        Personal Information during the Class Period without notifying their parents
23        and obtaining verifiable parental consent beforehand.
24
25        New York Class: All New York residents (who were younger than 13 years old
26        when they used TikTok) from whom Defendants collected and/or used Personal
27        Information during the Class Period without notifying their parents and
28        obtaining verifiable parental consent beforehand.
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                              CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 16 of 25 Page ID
                                       #:16


 1         98.   Excluded from the Classes are Defendants, any entity in which the
 2 Defendants have a controlling interest, and Defendants’ officers, directors, legal
 3 representatives, successors, and subsidiaries. Also excluded from the Classes are any
 4 judge, justice, or judicial officer presiding over this matter and the members of their
 5 immediate families and judicial staff.
 6         99.   This action has been brought and may properly be maintained as a class
 7 action as it satisfies the numerosity, commonality, typicality, adequacy, and
 8 superiority requirements of Rule 23(b)(3). Plaintiffs seek to represent ascertainable
 9 Classes, as determining inclusion in the class can be done through TikTok’s own
10 records and/or the records of third parties.
11         100. Plaintiffs reserve the right to amend the Class definitions if discovery and
12 further investigation reveal that the Classes should be expanded, divided into
13 subclasses, or modified in any other way.
14         101. Although the precise number of Class Members is unknown and can only
15 be determined through appropriate discovery, publicly available information indicates
16 that TikTok collected and used the Personal Information of millions of American
17 children (under the age of 13) during the Class Period without notifying their parents
18 and obtaining verifiable parental consent beforehand. Plaintiffs thus believe that the
19 proposed Class is so numerous that joinder of all members would be impracticable.
20         102. Questions of law and fact common to the putative Classes predominate
21 over questions affecting only individual members, including inter alia:
22         a.    Whether TikTok has or had a practice of collecting Personal Information
23 from children who were younger than 13 years old without notifying their parents and
24 obtaining verifiable parental consent beforehand;
25         b.    Whether TikTok has or had a practice of using Personal Information
26 from children who were younger than 13 years old without notifying their parents and
27 obtaining verifiable parental consent beforehand;
28         c.    Whether TikTok’s practices violate the Children’s Online Privacy
                                                  16
                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR       Document 1 Filed 09/17/24      Page 17 of 25 Page ID
                                        #:17


 1 Protection Act of 1998 (“COPPA”) and the Children’s Online Privacy Protection Rule
 2 (“COPPA Rule”);
 3         d.    Whether TikTok engaged in unlawful business practices;
 4         e.    Whether TikTok engaged in unfair business practices;
 5         f.    Whether TikTok has unjustly received and retained monetary benefits
 6 from Plaintiffs’ minor children and Class Members by profiting off the use of their
 7 Personal Information; and
 8         g.    Whether Class Members are entitled to damages and/or restitution, and if
 9 so, the method of computing damages and/or restitution.
10         103. Plaintiffs are members of the putative Classes. The claims asserted by
11 Plaintiffs in this action are typical of the claims of the members of the putative
12 Classes, as the claims arise from the same course of conduct by the Defendants and
13 the relief sought is common.
14         104. Plaintiffs will fairly and adequately represent and protect the interests of
15 the Class Members, as their interests are coincident with, and not antagonistic to, the
16 other Class Members.
17         105. Plaintiffs have retained counsel competent and experienced in both
18 consumer protection and class action litigation. Plaintiffs’ counsel has experience
19 litigating some of the largest and most complex consumer class actions.
20         106. Certification of the Classes is appropriate pursuant to Fed. Rule of Civil
21 Procedure 23(b)(3) because questions of law or fact common to the respective
22 members of the Class predominate over questions of law or fact affecting only
23 individual members. This predominance makes class litigation superior to any other
24 method available for the fair and efficient adjudication of these claims including
25 consistency of adjudications. Absent a class action, it would be highly unlikely that
26 the members of the Classes would be able to protect their own interests because the
27 cost of litigation through individual lawsuits might exceed the expected recovery.
28         107. A class action is a superior method for the adjudication of the
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                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR       Document 1 Filed 09/17/24      Page 18 of 25 Page ID
                                        #:18


 1 controversy in that it will permit a large number of claims to be resolved in a single
 2 forum simultaneously, efficiently, and without the unnecessary hardship that would
 3 result from the prosecution of numerous individual actions and the duplication of
 4 discovery, effort, expense, and the burden of the courts that individual actions would
 5 create.
 6         108. Plaintiffs intend to provide direct notice to Class Members through the
 7 TikTok platform and through e-mail.
 8         109. In the alternative, the Classes should be certified pursuant to Federal Rule
 9 of Civil Procedure 23(b)(2) because:
10         110. The prosecution of separate actions by the individual members of the
11 proposed class would create a risk of inconsistent adjudications, which could establish
12 incompatible standards of conduct for TikTok;
13         111. The prosecution of individual actions could result in adjudications, which
14 as a practical matter, would be dispositive of the interests of non-party class members
15 or which would substantially impair their ability to protect their interests; and
16         112. TikTok has acted or refused to act on grounds generally applicable to the
17 proposed Classes, thereby making appropriate final and injunctive relief with respect
18 to the members of the proposed Classes as a whole.
19
20                                  CAUSES OF ACTION
21                               FIRST CAUSE OF ACTION
22           VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
23                             Cal. Bus. & Prof. § 17200, Et. Seq.
24 (Asserted by Plaintiffs Villanueva, Faucett, and Pierre on Behalf of National Class and
25                 by Plaintiff Villanueva on Behalf of the California Class)
26         113. Plaintiffs re-allege and incorporate by reference herein all of the
27 allegations above.
28         114. California’s Unfair Competition Law, Cal. Bus. & Prof. Code §17200 et
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                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 19 of 25 Page ID
                                       #:19


 1 seq. (“UCL”) prohibits any “unlawful, unfair, or fraudulent business act or practice.”
 2         115. TikTok violated the UCL by engaging in the “unlawful” and “unfair”
 3 business acts and practices alleged previously, and as further specified below.
 4         116. TikTok engaged in “unlawful” business acts and/or practices by violating
 5 the Children’s Online Privacy Protection Act of 1998 (“COPPA”) and the Children’s
 6 Online Privacy Protection Act Rule (“COPPA Rule”).
 7         117. TikTok violated Sections 312.3, 312.4, and 312.5 of COPPA, 16 C.F.R.
 8 §§ 312.3-5, by collecting and using Personal Information from Plaintiffs’ minor
 9 children and Class Members (children younger than 13 years old) without notifying
10 their parents and obtaining verifiable parental consent.
11         118. TikTok engaged in “unfair” business acts and/or practices by collecting
12 and using Personal Information from Plaintiffs’ minor children and Class Members
13 (children younger than 13 years old) without notifying their parents and obtaining
14 verifiable parental consent. This practice is unethical, unscrupulous, and substantially
15 injurious to children, and thus constitutes an unfair practice under the UCL. The harm
16 these practices caused to Plaintiffs’ minor children and Class Members outweigh their
17 utility, if any.
18         119. Plaintiffs have standing to bring these claims under the UCL. As a direct
19 and proximate result of TikTok’s unlawful and unfair business acts and practices,
20 Plaintiffs’ minor children and Class Members were injured and lost money or
21 property.
22         120. First, as a direct and proximate result of Tiktok’s unlawful and unfair
23 business acts and practices, Plaintiffs’ minor children and Class Members suffered
24 “benefit-of-the-bargain” injuries and damages. Plaintiffs’ minor children and Class
25 Members did not receive the full benefit of the bargain, and instead received services
26 from TikTok that were less valuable than the services they would have received if
27 TikTok had abided by COPPA.
28         121. Plaintiffs’ minor children and Class Members, therefore, were damaged
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 20 of 25 Page ID
                                       #:20


 1 in an amount at least equal to the difference in value of the TikTok service that
 2 Plaintiffs’ minor children and Class Members received (where TikTok collected and
 3 used children’s Personal Information without notifying their parents or gaining their
 4 parents’ consent) and the value of the TikTok service that Plaintiffs’ minor children
 5 and Class Members would have received if TikTok had abided by COPPA (and not
 6 collected and used children’s Personal Information without notifying their parents or
 7 gaining their parents’ consent).
 8         122. Second, as a direct and proximate result of TikTok’s unlawful and unfair
 9 business acts and practices, Plaintiffs’ minor children and Class Members suffered
10 “right to exclude” injuries and damages.
11         123. Plaintiffs’ minor children and Class Members have a property interest in
12 the Personal Information collected by TikTok. Plaintiffs’ minor children and Class
13 Members suffered an economic injury because they were deprived of their right to
14 exclude TikTok from their Personal Information.
15         124. Plaintiffs’ minor children and Class Members’ damages may also be
16 measured by the amount of monetary compensation that TikTok would have to
17 provide to parents to gain their consent to collect and use their children’s Personal
18 Information.
19         125. Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs seek equitable
20 relief to enjoin TikTok from continuing its unlawful and unfair practices and any other
21 equitable relief necessary to secure the interests of the Class Members.
22         126. Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs request that the
23 Court restore to Plaintiffs and the Class, in the form of restitution, all money TikTok
24 may have acquired as result of its unlawful and unfair business practices.
25         127. Plaintiffs allege that they lack an adequate remedy at law. The restitution
26 that Plaintiffs seek under the UCL is not the same remedy as disgorgement for unjust
27 enrichment.
28
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 21 of 25 Page ID
                                       #:21


 1                             SECOND CAUSE OF ACTION
 2                                UNJUST ENRICHMENT
 3   (Asserted by Plaintiffs Villanueva, Faucett, and Pierre on Behalf of a National Class
 4      and, in the alternative by Plaintiff Villanueva on Behalf of the California Class,
 5    Plaintiff Pierre on Behalf of the New York Class, and Plaintiff Faucett on Behalf of
 6                                   the Washington Class)
 7         128. Plaintiffs re-allege and incorporate by reference herein all of the
 8 allegations contained above.
 9         129. TikTok has unjustly received and retained monetary benefits from
10 Plaintiffs’ minor children and Class Members by profiting off the use of their Personal
11 Information under unjust circumstances such that inequity has resulted.
12         130. TikTok knowingly obtained benefits from Plaintiffs’ minor children and
13 Class Members as alleged herein under circumstances such that it would be
14 inequitable and unjust for TikTok to retain them.
15         131. TikTok has been knowingly enriched by revenues and profits it received
16 from unjustly and illegally collecting and using the Personal Information of children
17 under the age of 13 to build profiles and target advertisements to those children.
18         132. TikTok failed to obtain legally valid consent from Plaintiffs’ minor
19 children and Class Members to collect and use their Personal Information.
20         133. Thus, TikTok will be unjustly enriched if it is permitted to retain the
21 benefits derived from the illegal collection and usage of Plaintiffs’ minor children and
22 Class Members’ Personal Information.
23         134. Plaintiffs’ minor children and Class Members are therefore entitled to
24 relief, including disgorgement of all revenues and profits that TikTok earned as a
25 result of its unlawful and wrongful conduct.
26
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 22 of 25 Page ID
                                       #:22


 1                              THIRD CAUSE OF ACTION
 2                 WASHINGTON CONSUMER PROTECTION ACT,
 3                           Wash. Rev. Code. § 19.86.010, et seq
 4             (Asserted by Plaintiff Faucett on Behalf of the Washington Class)
 5         135. Plaintiffs re-allege and incorporate by reference herein all of the
 6 allegations contained above.
 7         136. Washington Plaintiff, the Washington Class Members, and TikTok are
 8 “persons” within the meaning of Wash. Rev. Code § 19.86.010(2).
 9         137. TikTok committed the acts complained of herein in the course of “trade”
10 or “commerce” within the meaning of Wash. Rev. Code § 19.96.010.
11         138. TikTok engaged in consumer-oriented conduct by offering and
12 promoting its TikTok social media platform.
13         139. Washington’s Consumer Protection Act, Wash. Rev. Code § 19.86.010 et
14 seq. (“CPA”) prohibits “unfair methods of competition and unfair or deceptive acts or
15 practices in the conduct of any trade or commerce.” Wash. Rev. Code § 19.86.020.
16         140. The Washington CPA instructs that, in construing the Washington CPA,
17 the courts will be “guided by final decisions of the federal courts and final orders of
18 the federal trade commission interpreting the various federal statutes dealing with the
19 same or similar matters.” Wash. Rev. Code § 19.86.920.
20         141. TikTok violated the Washington CPA by engaging in the “unlawful”
21 business acts and practices alleged previously, and as further specified below.
22         142. TikTok engaged in “unfair” business acts and/or practices by violating
23 COPPA and the COPPA Rule.
24         143. TikTok violated Sections 312.3, 312.4, and 312.5 of COPPA, 16 C.F.R.
25 §§ 312.3-5, by collecting and using Personal Information from Plaintiffs’ minor
26 children and Class Members (children younger than 13 years old) without notifying
27 their parents and obtaining verifiable parental consent.
28         144. TikTok’s business practices alleged herein are unethical, unscrupulous,
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                                CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24       Page 23 of 25 Page ID
                                       #:23


 1 and substantially injurious to children, and thus constitute an unfair practice under the
 2 Washington CPA. The harm these practices caused to Plaintiffs’ minor children and
 3 Class Members outweigh their utility, if any.
 4         145. As a direct and proximate result of TikTok’s unfair business acts and
 5 practices, Plaintiffs’ minor children and Class Members were injured and lost money
 6 or property.
 7         146. First, as a direct and proximate result of Tiktok’s unfair business acts and
 8 practices, Plaintiffs’ minor children and Class Members suffered “benefit-of-the-
 9 bargain” injuries and damages. Plaintiffs’ minor children and Class Members did not
10 receive the full benefit of the bargain, and instead received services from TikTok that
11 were less valuable than the services they would have received if TikTok had abided by
12 COPPA.
13         147. Plaintiffs’ minor children and Class Members, therefore, were damaged
14 in an amount at least equal to the difference in value of the TikTok service that
15 Plaintiffs’ minor children and Class Members received (where TikTok collected and
16 used children’s Personal Information without notifying parents or gaining their
17 parents’ consent) and the value of the TikTok service that Plaintiffs’ minor children
18 and Class Members would have received if TikTok had abided by COPPA (and not
19 collected and used children’s Personal Information without notifying parents or
20 gaining their parents’ consent).
21         148. Second, as a direct and proximate result of TikTok’s unlawful and unfair
22 business acts and practices, Plaintiffs’ minor children and Class Members suffered
23 “right to exclude” injuries and damages.
24         149. Plaintiffs’ minor children and Class Members have a property interest in
25 the Personal Information collected by TikTok. Plaintiffs’ minor children and Class
26 Members suffered an economic injury because they were deprived of their right to
27 exclude TikTok from their Personal Information.
28         150. Plaintiffs’ minor children and Class Members’ damages may also be
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                               CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR        Document 1 Filed 09/17/24      Page 24 of 25 Page ID
                                         #:24


 1 measured by the amount of monetary compensation that TikTok would have to
 2 provide to parents to gain their consent to collect and use their children’s Personal
 3 Information.
 4         151. Plaintiffs’ minor children and Class Members seek restitution for monies
 5 wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, injunctive
 6 relief, actual damages, treble damages, attorney’s fees and other relief allowable under
 7 Wash. Rev. Code § 19.86.090.
 8                                     PRAYER FOR RELIEF
 9         WHEREFORE, Plaintiffs, on behalf of their minor children and the Classes,
10 seek the following relief:
11         A.     An order certifying this action as a class action under Fed. R. Civ. P.
12 23(b)(2) and/or (b)(2), defining the Class as requested herein, appointing Cohen
13 Milstein Sellers & Toll PLLC, as Class Counsel, and finding that Plaintiffs are proper
14 representatives of the Classes requested herein.
15         B.     Damages, including compensatory damages, actual damages, and benefit-
16 of-the-bargain damages, and nominal damages.
17         C.     Restitution.
18         D.     Disgorgement to Plaintiffs and the Class of all monies TikTok
19 wrongfully obtained and retained.
20         E.     Punitive and Exemplary Damages.
21         F.     Attorneys’ fees.
22         G.     Reasonable costs incurred in connection with this action, including expert
23 witness fees, and other costs as provided by law.
24         H.     Prejudgment interest commencing on the date of the legal violations and
25 continuing through the date of the entry of judgment in this action.
26         I.     Equitable and declaratory relief.
27         J.     Injunctive relief.
28         K.     Any other relief available under the claims brought by Plaintiffs.
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                                 CLASS ACTION COMPLAINT
Case 2:24-cv-07922-DDP-AJR      Document 1 Filed 09/17/24         Page 25 of 25 Page ID
                                       #:25


 1       L.     Granting such other relief as the Court deems proper.
 2                                JURY TRIAL DEMAND
 3       Plaintiff hereby request a jury trial for all issues so triable of right.
 4
 5
 6 Dated: September 17, 2024
 7
 8                                       By: /s/ Paul Hoffman
 9                                             Eric Kafka (pro hac vice forthcoming)
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                               CLASS ACTION COMPLAINT
